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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    NATALIA TERESHCHENKO, et al.,                       Case No.: 24cv2142-AGS-SBC
12                                      Plaintiffs,
                                                          ORDER DENYING PLAINTIFFS’ EX
13    v.                                                  PARTE MOTION FOR EXPEDITED
                                                          DISCOVERY
14    ALEJANDRO MAYORKAS, in his
      official capacity as Secretary of the U.S.
15                                                        [ECF NO. 16]
      Department of Homeland Security, et al.,
16                                    Defendants.
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18          Presently before the Court is Plaintiffs’ Ex Parte Motion for Expedited Discovery.
19    (ECF No. 16.) The Court held a discovery hearing on this matter on January 22, 2025.
20    (ECF No. 26.) For the reasons stated on the record and as set forth below, Plaintiffs’ motion
21    is DENIED.
22                                     I.     BACKGROUND
23          On November 14, 2024, Plaintiffs filed a Complaint for Declaratory and Injunctive
24    Relief and Petition for Writ of Mandamus. (ECF No. 1.) Plaintiffs bring this action to
25    enjoin an alleged unwritten policy and practice by the Department of Homeland Security
26    (“DHS”) of categorially detaining asylum seekers from Post-Soviet Union countries to
27    deter Plaintiffs and others similarly situated from seeking refuge in the United States,
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 1    referred to by Plaintiffs as “the Russian Detention & Deterrence Scheme.” (Id. at 9.)
 2    According to the Amended Complaint, filed on December 9, 2024, Plaintiffs in this suit
 3    are 276 Russian asylum seekers who are currently detained in various immigration
 4    detention facilities in the United States. (ECF No. 10 at 9.) Plaintiffs allege that Defendants
 5    have a longstanding policy directive precluding detention of asylum seekers except in
 6    unusual cases, referred to as the “Parole Directive.” (Id. at 10.) According to Plaintiffs, the
 7    Parole Directive instructs Immigration and Customs Enforcement (“ICE”) “to make an
 8    individualized determination as to the person’s flight and public safety, or national security
 9    risk profile in exercising discretion to release or detain the noncitizen.” (Id.) Plaintiffs
10    allege that the Parole Directive, implemented in 2009, “directs ICE to release asylum
11    seekers, provided they establish their identity and show they are not a danger or flight risk.”
12    (Id.) Plaintiffs claim that notwithstanding the Parole Directive, DHS has “embarked on an
13    unlawful scheme of indefinitely detaining asylum seekers from Post-Soviet Union
14    countries at ICE detention centers across the country.” (Id. at 11.)
15          On December 31, 2024, Plaintiffs filed a Motion for Preliminary Injunction, set for
16    hearing on February 7, 2025, in which they seek a preliminary injunction requiring ICE “to
17    put an end to their Russian Detention & Deterrence Scheme and immediately comply with
18    their 2009 Parole Directive.” (ECF No. 15 at 9.) On January 17, 2025, Defendants filed a
19    Motion to Dismiss the Amended Complaint or to Transfer Venue, set for hearing on
20    February 14, 2025. (ECF No. 23.)
21          In their motion to dismiss, Defendants argue that the Complaint should be dismissed
22    because many of Plaintiffs’ claims are moot or lack standing. Defendants contend that the
23    Parole Directive does not apply to eighty-seven (87) of the Plaintiffs, one hundred and
24    seventy-two (172) Plaintiffs were denied parole based on determinations that they posed a
25    security risk or a risk of absconding, seventeen (17) Plaintiffs were granted parole, three
26    (3) were released from custody after being granted asylum, and one (1) was released from
27    custody following a grant of withholding of removal. (Id. at 26-27.) Additionally,
28    Defendants argue that one hundred and twenty (120) Plaintiffs, some of whom overlap

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 1    with the above categories, lack standing because their claims are already pending in a prior
 2    action in the District Court for the District of Columbia. (Id. at 27-28.) Defendants also
 3    argue that the Court lacks jurisdiction to consider Plaintiffs’ remaining claims and should
 4    be dismissed pursuant to Fed. R. Civ. P. 12(b)(6) for failure to state a claim. (See id. at 29-
 5    31.)
 6           On January 2, 2025, Plaintiffs filed the Ex Parte Motion for Expedited Discovery
 7    currently before the Court. (ECF No. 16.) Plaintiffs seek the following: “(1) the memo that
 8    directs Customs and Border Patrol to detain asylum seekers from post-Soviet countries; (2)
 9    the memo that directs ICE the manner in which to process parole requests of asylum seekers
10    from post-Soviet countries.” (Id. at 6.) They contend that they need the documents “to
11    inform the court why asylum seekers from post-Soviet countries are systematically
12    detained, and why Defendants refuse to adjudicate parole request for Russian asylum
13    seekers.” (Id.) The initial memo sought by Plaintiffs was reported on by the New York Post,
14    which stated that, according to the memo, “[o]nly adult migrants from Georgia, Moldova,
15    Kyrgyzstan, Russia, Tajikistan, and Uzbekistan will be immediately sent for removal from
16    the US, per the memo.” (See id., n.1.) Defendants filed an opposition to the motion on
17    January 3, 2025. (ECF No. 17.) Plaintiffs filed a reply brief on January 6, 2025. (ECF No.
18    19.) The Court held a discovery hearing on January 22, 2025. (ECF No. 26.)
19                                   II.   LEGAL STANDARDS
20           Formal discovery generally is not permitted without a court order before the parties
21    have conferred pursuant to Federal Rule of Civil Procedure 26(f). Fed. R. Civ. P. 26(d)(1).
22    Requests for early or expedited discovery are granted only upon a showing of good cause
23    by the moving party. See Semitool, Inc. v. Tokyo Electron Am., Inc., 208 F.R.D. 273, 275-
24    76 (N.D. Cal. 2002). Good cause may be found where the need for expedited discovery, in
25    consideration of the administration of justice, outweighs the prejudice to the responding
26    party. Id. at 276. In determining whether good cause justifies expedited discovery, courts
27    commonly consider the following factors: “(1) whether a preliminary injunction is pending;
28    (2) the breadth of the discovery requests; (3) the purpose for requesting the expedited

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 1    discovery; (4) the burden on the defendants to comply with the requests; and (5) how far
 2    in advance of the typical discovery process the request was made.” Am. LegalNet, Inc. v.
 3    Davis, 673 F. Supp. 2d 1063, 1067 (C.D. Cal. 2009); see also Apple Inc. v. Samsung
 4    Electronics Co., Ltd., 768 F. Supp. 2d 1040, 1044 (N.D. Cal. 2011).
 5                                        III.   DISCUSSION
 6           The Court, having considered the parties’ papers and oral argument, finds that
 7    Plaintiffs have not established good cause to justify allowing early expedited discovery
 8    under the relevant standards. While the Court is mindful of the significance of the issues
 9    raised by Plaintiffs, the arguments they have presented to support expedited discovery go
10    to the merits of this action, that is, the challenge to Defendants’ handling of the 276 Russian
11    asylum seekers. The sole issue before this Court, however, is Plaintiffs’ motion for
12    expedited discovery. Although there is a motion for preliminary injunction pending in this
13    case, expedited discovery is not automatically granted merely because a party seeks a
14    preliminary injunction; instead, a court must examine “the reasonableness of the request in
15    light of all the surrounding circumstances.” See Am. LegalNet, Inc., 673 F. Supp. 2d at
16    1067 (citation omitted). Here, Plaintiffs have not demonstrated good cause for expedited
17    discovery under the present circumstances in this action for several reasons.
18           First, Defendants’ motion to dismiss sets forth several colorable jurisdictional
19    arguments. While this Court does not comment on the weight of those arguments, there is
20    a possibility that the case may be dismissed under one of these grounds. It is premature for
21    Plaintiffs to seek discovery going to the merits of their case before the Court’s jurisdiction
22    has been determined, and before the parties have conducted a Rule 26(f) conference.
23    Second, Defendants have contended throughout these proceedings that the 276 Russian
24    asylum seekers in question have not been detained without reason or adjudication.
25    Defendants argued that although perhaps they did not obtain the result they desired, many
26    of the asylum seekers have had some form of adjudication upon their application.
27    Accordingly, this does not support good cause for conducting early expedited discovery.
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 1                                   IV.   CONCLUSION
 2         For the reasons stated on the record of the Discovery Hearing held on January 22,
 3    2025, and as set forth above, Plaintiffs’ Ex Parte Motion for Expedited Discovery is
 4    DENIED.
 5         IT IS SO ORDERED.
 6    Dated: January 31, 2025
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